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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

MARGARET WINKLER,
                        Plaintiff,                                 4:13CV3035
       vs.
                                                       MEMORANDUMA AND ORDER
RANDY MILLER, COMMUNITY
INSURANCE GROUP,
                        Defendants.

       The above-captioned action was randomly assigned to the undersigned magistrate
judge for final disposition, and a motion to dismiss has now been filed. Unless all parties
consent to final disposition by a magistrate judge, the undersigned cannot enter a ruling
on the pending motion. If the parties do not so consent, the case will be reassigned to a
district judge.

       Accordingly,

       IT IS ORDERED that to avoid any delays in this case,

       1)         If the parties consent to final disposition of the case by the undersigned
                  magistrate judge, on or before May 3, 2013, they shall complete the
                  “CONSENT TO RANDOM ASSIGNMENT TO MAGISTRATE JUDGE”
                  located on the court’s website at http://www.ned.uscourts.gov/forms/.
                  After all parties have signed this form, e-mail it in .pdf format to
                  consent@ned.uscourts.gov. Do not electronically file this form or submit it
                  to chambers.

       2)         In the absence of timely submitting the attached form in accordance with
                  paragraph (1) of this order, the case will be reassigned to a district judge.

       April 16, 2013.
                                                     BY THE COURT:
                                                     s/ Cheryl R. Zwart
                                                     United States Magistrate Judge
